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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------X
Zeppelin Systems USA, Inc.,


                 Plaintiff,                                     19 Civ. 11222 (CM)

        -against-

                                                                NOTICE
Pyrolyx USA Indiana, LLC,
                  Defendant.
----------------------------------------------------X

Is there a stay in the bankruptcy proceedings that extends to all defendants?


Dated: January 11, 2021
       New York, New York




                                                       ___________________________
                                                       Colleen McMahon, Chief U.S.D.J
